Case 4:09-cr-40029-LLP         Document 899           Filed 07/28/10    Page 1 of 2 PageID #: 2515




                                 UNITED STATES DISTRICT COURT
                                                                                       FILED
                                                                                        JUL 2 8 2010

                                                                                        ~~
                                      DISTRICT OF SOUTH DAKOTA

                                         SOUTHERN DIVISION
  *****************************************************
                                                  *
  UNITED STATES OF AMERICA,                       *       CR. 09-40029-27
                                                  *
                         Plaintiff,               *       MEMORANDUM OPINION AND
                                                  *       ORDER RE: MOTION TO SEVER
         - vs                                     *
                                                  *
  BENJAMIN MELENDEZ-ROCHA,                        *
                                                  *
                         Defendant.               *
                                                  *
  *****************************************************
         Defendant Benjamin Melendez-Rocha has moved to sever his case pursuant to FED. R. CRIM.
  P. 14. Doc. 840. Melendez-Rocha is charged in the Fourth Superseding Indictment with conspiracy
  to distribute methamphetamine, conspiracy to distribute marijuana, and conspiracy to conduct a
  financial transaction to conceal the proceeds and promote the unlawful distribution of controlled
  substances. Melendez-Rocha is named in Counts 1, 2, and 3, but is not named in Counts 4, 5, and
  6 of the Fourth Superseding Indictment. The crimes charged in Counts 4, 5, and 6 involve co­
  defendants charged in the conspiracy counts naming Melendez-Rocha and are alleged to have
  occurred in the same time frame as the charged conspiracies.
         Melendez-Rocha contends that he will be prejudiced with "criminal allegations surfacing
  during the same trial that have no relation to the Defendant's charges, the danger is that the Defendant
  could be held responsible for wrongdoing that had no relation to the particular charges he faced."
  Melendez-Rocha further contends that there is potential for confusion because the discovery reflects
  mUltiple names and occasional references to individuals sharing the same first or last name. Although
  Melendez-Rocha expresses a concern that Bruton issues will arise during trial, he does not specify
  any problems encompassed by the holding in Bruton v. United States, 391 U.S. 123 (1968), or the
  later cases that have addressed that holding.
          There is a preference in the federal system for joint trials of defendants who are properly
Case 4:09-cr-40029-LLP         Document 899       Filed 07/28/10      Page 2 of 2 PageID #: 2516



  charged in the same Indictment under FED. R. CRIM. P. 8(b )'. Zafiro v. United States, 506 U.S. 534,
  537 (1993). Melendez-Rocha has not alleged that FED. R. CRIM. P. 8(b) was violated. Instead,
  Melendez-Rocha contends he is prejudiced by the joinder and entitled to severance under FED. R.
  CRIM. P. 14. Prejudice may be demonstrated by showing either that the codefendants' defenses are
  irreconcilable or that the jury will be unable to compartmentalize the evidence as it relates to the
  separate co-defendants. United States v. Frank, 354 F.3d 910 (8th Cir. 2004). But even in cases
  where the risk of prejudice from a joint trial is high, less drastic measures, such as limiting
  instructions, will adequately cure any risk of prejudice. Zafiro v. United States, 506 U.S. at 539.
           Generally, defendants charged in a conspiracy should be tried together. This is particularly
  true where proof of the charges against the defendants is based upon the same evidence and acts.
  United States v. Frank, 354 F.3d at 920. Since Melendez-Rocha is charged with conspiracy and since
  the Court has not been persuaded that it is unable to cure any risk of prejudice by measures less
  drastic than severance, Melendez-Rocha's motion to sever is denied. Accordingly,


           IT IS ORDERED that Melendez-Rocha's motion to sever (Doc. 840) is denied.


           Dated this   ~~day of July, 2010.
                                                 BY THE COURT:


                                                              ~~
                                                  awrence L. Piersol
                                                  nited States District Judge
   ATTEST:
   JOSEPH HAAS, Cled< ~

   BY:   .5.Lf11JYfU /JJ1
                  DEPUTY



           'FED. R. CRIM. P. 8(b) states: The indictment or information may charge 2 or more
   defendants if they are alleged to have participated in the same act or transaction, or in the same
   series of acts or transactions, constituting an offense or offenses. The defendants may be charged
   in one or more counts together or separately. All defendants need not be charged in each count.


                                                     2
